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                                                                          6                             IN THE UNITED STATES DISTRICT COURT
                                                                          7                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   LAMAR JOHNSON,                                           No. C 16-1373 WHA (PR)

                                                                         10                    Petitioner,                             ORDER DENYING PETITION AND
                                                                                                                                       DENYING CERTIFICATE OF
                                                                         11        v.                                                  APPEALABILITY
United States District Court




                                                                         12   AUDREY KING, Executive Director
                               For the Northern District of California




                                                                              California Department of Mental
                                                                         13   Health,

                                                                         14                    Respondent.
                                                                                                                      /
                                                                         15
                                                                         16                                               INTRODUCTION

                                                                         17             Petitioner filed a pro se petition for a writ of habeas corpus pursuant to 28 U.S.C. 2254

                                                                         18   challenging his civil commitment to Coalinga State Hospital pursuant to California's Sexually

                                                                         19   Violent Predators Act. See Cal. Welf. & Inst. Code § 6600, et seq. ("SVPA"). Respondent was

                                                                         20   ordered to show cause why the petition should not be granted. Respondent has answered, and

                                                                         21   petitioner has filed a traverse. For the reasons discussed below, the petition is DENIED.

                                                                         22                                                STATEMENT

                                                                         23   I.        SVPA COMMITMENT PROCEEDINGS

                                                                         24             The SVPA authorizes the state to file a petition to civilly commit a person as a sexually

                                                                         25   violent predator (“SVP”), which is someone who (1) has been convicted of a sexually violent

                                                                         26   offense and (2) suffers from a diagnosed mental disorder that makes it likely that he will engage

                                                                         27   in sexually violent criminal behavior in the future. See Cal. Welf. & Inst. Code § 6600(a)(1).

                                                                         28   The commitment petition must be filed while the individual is still in custody under a
                                                                              determinate prison term, as a result of parole revocation, or under a special SVPA-authorized
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                                                                          1   “hold” (§ 6601(a)(2)). After the petition is filed, the superior court must hold a probable cause
                                                                          2   hearing, and then a jury trial at which a unanimous jury must find beyond a reasonable doubt
                                                                          3   that the individual meets the criteria for an SVP (§§ 6602-03). Prior to 2006, an SVP was
                                                                          4   committed for a two-year term but could be recommitted to an unlimited number of sequential
                                                                          5   terms. In 2006, Proposition 83 was passed and now an SVP is committed to a state mental
                                                                          6   hospital for an indeterminate term but with yearly reviews of their mental condition by a mental
                                                                          7   health professional (§§ 6603(d), 6604, 6604.9(a)).
                                                                          8          An SVP can seek release: (1) if the Department of State Hospitals (DSH) determines
                                                                          9   that his or her mental disorder “has so changed that the person is not likely to commit acts of
                                                                         10   predatory sexual violence while under supervision and treatment in the community” and
                                                                         11   recommends conditional release, and the trial court makes a finding of conditional release after
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                                                                         12   a hearing; or (2) up to one time per year an SVP may petition the trial court for conditional
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                                                                         13   release without DSH concurrence, and the court must hold a hearing if the petition is not
                                                                         14   frivolous (§§ 6607, 6608). The trial court determines conditional release based upon the same
                                                                         15   standard used for the initial commitment (§ 6608(g)). The burden is on the SVP to prove by a
                                                                         16   preponderance of the evidence that he meets that standard, i.e. that it is unlikely that he will
                                                                         17   “engage in sexually violent criminal behavior due to his or diagnosed mental disorder if under
                                                                         18   supervision and treatment in the community” (§ 6608(g),(k)). However, if the DSH issues a
                                                                         19   report recommending conditional release, then the burden is on the state to prove by a
                                                                         20   preponderance of the evidence that the SVP should not be released (ibid.).
                                                                         21   II.    PETITIONER’S COMMITMENT PROCEEDINGS
                                                                         22          In 1984, petitioner pleaded guilty to assault with intent to commit rape of a 24-year-old
                                                                         23   woman. Before he was sentenced, in yet another crime he raped a 15-year-old girl and later
                                                                         24   pled guilty to statutory rape. He was imprisoned for these two crimes and released on parole in
                                                                         25   1985. In 1992, he was convicted of two counts of rape, assault with intent to commit sodomy,
                                                                         26   forcible oral copulation, and assault with intent to commit rape. He was sentenced to a term of
                                                                         27   36 years in state prison. After serving over 17 years, his date for release on parole was set for
                                                                         28   June 28, 2011.


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                                                                          1            Before petitioner’s release from prison, prosecutors petitioned for his civil commitment
                                                                          2   as an SVP. At a jury trial in 2012, four psychologists testified as experts. The state’s experts,
                                                                          3   Drs. Padilla and D’Orazio diagnosed petitioner with “paraphilia not otherwise specified with
                                                                          4   non-consenting persons,” also known as “para       philic coercive disorder.” This disorder is
                                                                          5   marked by sexual arousal or gratification involving nonconsenting persons persistent over a six-
                                                                          6   month period. The experts diagnosed petitioner with this disorder because of the number of
                                                                          7   petitioner’s offenses over a lengthy period of time, the similar modus operandi, the fact that a
                                                                          8   consenting partner was available to him, he showed quick recidivism when he was not in
                                                                          9   custody, and his continued arousal while the victims resisted. Based upon a statistical analysis,
                                                                         10   they predicted a 21 to 28 percent chance that he would commit another sexual offense within 10
                                                                         11   years if released into the community. Petitioner’s first expert, Dr. Abbot, testified that the
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                                                                         12   existence of paraphilic coercive disorder was rare and there was no consensus as to its
                               For the Northern District of California




                                                                         13   definition in the psychology community. Dr. Abbot opined that petitioner did not have the
                                                                         14   disorder and instead was an “anger” rapist, that there was a six percent chance he would re-
                                                                         15   offend if released, and that he did not pose a well-founded risk he would re-offend. Dr. Heard
                                                                         16   testified for petitioner as well. He testified that paraphilic coercive disorder did not exist, that
                                                                         17   petitioner raped out of anger, and that he did not have a mental disorder that would compel him
                                                                         18   to re-offend. He estimated based upon petitioner’s age less than a seven percent chance that he
                                                                         19   would re-offend if released into the community.
                                                                         20            Following the jury’s verdict, petitioner’s appeal and habeas petitions to the California
                                                                         21   Court of Appeal were denied in a joint opinion that was published in part. His petition for
                                                                         22   review to the California Supreme Court was summarily denied.
                                                                         23                                               ANALYSIS
                                                                         24   I.       STANDARD OF REVIEW
                                                                         25            Pursuant to the Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA"), a
                                                                         26   federal court may entertain a petition for writ of habeas corpus "in behalf of a person in custody
                                                                         27   pursuant to the judgment of a State court only on the ground that he is in custody in violation of
                                                                         28   the Constitution or laws or treaties of the United States." 28 U.S.C.§ 2254(a). The petition may


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                                                                          1   not be granted with respect to any claim adjudicated on the merits in state court unless the state
                                                                          2   court's adjudication of the claim: "(1) resulted in a decision that was contrary to, or involved an
                                                                          3   unreasonable application of, clearly established Federal law, as determined by the Supreme
                                                                          4   Court of the United States; or (2) resulted in a decision that was based on an unreasonable
                                                                          5   determination of the facts in light of the evidence presented in the State court proceeding." 28
                                                                          6   U.S.C. § 2254(d).
                                                                          7          "Under the 'contrary to' clause, a federal habeas court may grant the writ if the state
                                                                          8   court arrives at a conclusion opposite to that reached by [the United States Supreme] Court on a
                                                                          9   question of law or if the state court decides a case differently than [the] Court has on a set of
                                                                         10   materially indistinguishable facts." Williams (Terry) v. Taylor, 529 U.S. 362, 412-13 (2000).
                                                                         11   "Under the 'unreasonable application' clause, a federal habeas court may grant the writ if the
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                                                                         12   state court identifies the correct governing legal principle from [the] Court's decisions but
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                                                                         13   unreasonably applies that principle to the facts of the prisoner's case." Id. at 413. "[A] federal
                                                                         14   habeas court may not issue the writ simply because that court concludes in its independent
                                                                         15   judgment that the relevant state-court decision applied clearly established federal law
                                                                         16   erroneously or incorrectly. Rather, that application must also be unreasonable." Williams, 529
                                                                         17   U.S. at 411. A federal habeas court making the "unreasonable application" inquiry should ask
                                                                         18   whether the state court's application of clearly established federal law was "objectively
                                                                         19   unreasonable." Id. at 409. The state court opinion reviewed under Section 2254(d) in this case
                                                                         20   is the opinion of the California Court of Appeal because the California Supreme Court denied
                                                                         21   petitioner’s claims in a summary opinion without explanation.
                                                                         22   II.    CLAIMS FOR RELIEF
                                                                         23          1.      Claims One and Two
                                                                         24          After the judgment committing petitioner under the SVPA, the American Psychiatric
                                                                         25   Association released a new edition of the Diagnostic and Statistic Manual (“DSM”) that no
                                                                         26   longer included the kind of paraphilic coercive disorder used for petitioner’s diagnosis. In his
                                                                         27   first claim, petitioner argues that because of this development, his commitment was based upon
                                                                         28   an invalid diagnosis which violated his right to due process. In his second claim, he argues that


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                                                                          1   the expert testimony diagnosing him with that disorder constituted “false” evidence.
                                                                          2          The later removal of paraphilic coercive disorder from the DSM does not mean that his
                                                                          3   commitment violates his right to due process. The Court of Appeal correctly found that the
                                                                          4   “federal constitutional right to due process does not require an SVP commitment to be based on
                                                                          5   a disorder that is uniformly recognized by the mental health community.” People v. Johnson,
                                                                          6   Nos. A136573, A140310, A143775, slip op. at 21 (Cal. Ct. App. Mar. 13, 2015), as amended,
                                                                          7   slip op. 1-2 (Cal. Ct. App. Apr. 7, 2015). States may, in defining who may be civilly
                                                                          8   committed, employ mental health categories that “do not fit precisely with the definitions
                                                                          9   employed by the medical community.” Kansas v. Hendricks, 521 U.S. 346, 359 (1997). The
                                                                         10   scientific debate over paraphilic coercive disorder. including its exclusion from the DSM, does
                                                                         11   not mean that the diagnosis is “too imprecise a category” such that commitment of an individual
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                                                                         12   as an SVP based on such a diagnosis runs afoul of due process. McGee v. Bartow, 593 F.3d
                               For the Northern District of California




                                                                         13   556, 570, 581 (7th Cir. 2010) (citing Hendricks, 521 U.S. at 373) (“we cannot conclude that the
                                                                         14   diagnosis of a [paraphilic coercive disorder] is so empty of scientific pedigree or so
                                                                         15   near-universal in its rejection by the mental health profession that civil commitment cannot be
                                                                         16   upheld as constitutional when this diagnosis serves as a predicate”).
                                                                         17          The California Court of Appeal correctly concluded that even if the latest edition of the
                                                                         18   DSM “reflects a growing skepticism in the psychiatric community about paraphilic coercive
                                                                         19   disorder (a.k.a. paraphilia non-consent), we cannot conclude that a commitment based on that
                                                                         20   disorder violates due process.” Johnson, slip op. at 23. California does not define an SVP in
                                                                         21   lock-step with mental disorders recognized by the DSM. The assessment of an SVP is based
                                                                         22   upon “diagnosable mental disorders, as well as various factors known to be associated with the
                                                                         23   risk of reoffense among sex offenders, including criminal and psychosexual history, type
                                                                         24   degree, and duration of sexual deviance, and severity of mental disorder.” Reilly v. Superior
                                                                         25   Court, 57 Cal. 4th 641, 647 (2013) (quoting California Welfare and Institutions Code Section
                                                                         26   6601(c)) (internal quotations omitted). For the persuasive reasons discussed in McGee and the
                                                                         27   Court of Appeal in this case, the disagreement between the doctors who found petitioner to be
                                                                         28   an SVP on the one hand, and petitioner’s experts and the later edition of the DSM on the other,


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                                                                          1   does not mean that petitioner’s commitment violates his right to due process.
                                                                          2          In addition, the prosecution experts’ diagnosis of petitioner was an opinion that cannot
                                                                          3   be considered “false evidence.” As the Ninth Circuit has explained, when new expert testimony
                                                                          4   contradicts expert testimony for the prosecution that was presented at trial, the trial testimony is
                                                                          5   “simply a difference in opinion — not false testimony.” See Gimenez v. Ochoa, 821 F.3d 1136,
                                                                          6   1142-43 (9th Cir. 2016); see also Odle v. Calderon, 65 F.Supp.2d 1065, 1073 (N.D. Cal. 1999).
                                                                          7   The Court of Appeal correctly found that the professional disagreement on the validity of
                                                                          8   paraphilic coercive disorder does not mean that the prosecution’s expert testimony was “false,”
                                                                          9   only that it was disputed. Accordingly, the revision of the DSM after trial did not result in a
                                                                         10   violation of due process or a verdict based upon “false” evidence.
                                                                         11          The state courts’ rejection of the first and second claims was neither “contrary to” nor an
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                                                                         12   “unreasonable application” of federal law within the meaning of AEDPA. Petitioner may not
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                                                                         13   receive federal habeas relief on these claims.
                                                                         14          2.      Claim Three
                                                                         15          Petitioner claims that the jury instruction given pursuant to CALCRIM No. 3454
                                                                         16   lowered the prosecution’s standard of proof. The instruction at issue stated:
                                                                         17                    The petition alleges that Lamar Johnson is a sexually violent
                                                                                      predatory. To prove this allegation, the People must prove beyond a
                                                                         18           reasonable doubt that he has been convicted of committing sexually violent
                                                                                      offenses against one or more victims[, h]e has a diagnosed mental disorder,
                                                                         19           and as a result of that diagnosed mental disorder, he is a danger to the
                                                                                      health and safety of others because it is likely that he will engage in
                                                                         20           sexually violent predatory criminal behavior . . .
                                                                         21                    A person is likely to engage in sexually violent predatory criminal
                                                                                      behavior if there is a substantial danger that is a serious and well-founded
                                                                         22           risk that the person will engage in such conduct if released in the
                                                                                      community. The likelihood that the person will engage in such conduct
                                                                         23           does not have to be greater than 50 percent.
                                                                         24   Johnson, slip op. at 12; Vol. 7 RT 689-90.
                                                                         25           To begin with, the federal right to due process does not require proof beyond a
                                                                         26   reasonable doubt in civil commitment proceedings. Paddington v. Texas, 441 U.S. 418, 432
                                                                         27   (1979). Therefore, any failure to set forth such a standard of proof would not in and of itself
                                                                         28   violate due process. California has chosen to use a beyond-the-reasonable-doubt standard in


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                                                                          1   civil commitment proceedings, and due process does require that instructions correctly set forth
                                                                          2   state law. To show such a violation, petitioner would have to show both that the instruction was
                                                                          3   ambiguous and a "reasonable likelihood" that the jury applied the instruction in a way relieved
                                                                          4   the state of its burden of proving every element beyond a reasonable doubt. Waddington v.
                                                                          5   Sarausad, 555 U.S. 179, 190-191 (2009). This instruction was neither ambiguous nor did it
                                                                          6   lower the burden of proof. According to petitioner, the instruction’s second paragraph confused
                                                                          7   the jury into thinking that the state’s burden was not to prove every element of the offense true
                                                                          8   beyond a reasonable doubt, but rather that it could prove the likelihood of re-offense element by
                                                                          9   less than a preponderance of the evidence (Pet. 12). The existence of a “likelihood” of
                                                                         10   reoffense is an element of the offense, which the instruction clearly stated in the first paragraph
                                                                         11   must be proven true beyond a reasonable doubt. The second paragraph of the instruction simply
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                                                                         12   specified the extent of the likelihood necessary to amount to a “likelihood” for purposes of the
                               For the Northern District of California




                                                                         13   SVP determination. That is, where as here the state’s evidence placed the likelihood at between
                                                                         14   15 and 25 percent chance of re-offense, the state still had to prove beyond a reasonable doubt
                                                                         15   that such a level of likelihood existed. The California Court of Appeal’s conclusion that there
                                                                         16   was no “reasonable likelihood” the jury applied the instruction in an impermissible manner —
                                                                         17   i.e., to lower the prosecution’s burden to prove every element of an SVP determination true
                                                                         18   beyond a reasonable doubt — was both a reasonable application of and not contrary to federal
                                                                         19   law. See Johnson, slip op. at 13-14. Accordingly, federal habeas relief is not warranted on this
                                                                         20   claim.
                                                                         21            3.     Claim Four
                                                                         22            Petitioner claims that the failure of the trial court to a instruct the jury that he was
                                                                         23   presumed not to be an SVP violated the California Constitution. The trial court rejected
                                                                         24   petitioner’s argument that the SVPA and the California Constitution required an instruction that
                                                                         25   he is presumed not to be an SVP until proven otherwise. The California Court of Appeal found
                                                                         26   that the trial court did not err under state law. Johnson, slip op. at 16.
                                                                         27            Federal habeas relief cannot be granted based upon petitioner’s claim that the trial court
                                                                         28   violated the California Constitution because the federal habeas writ is unavailable for violations


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                                                                          1   of state law or for alleged error in the interpretation or application of state law. Swarthout v.
                                                                          2   Cooke, 131 S.Ct. 859, 861-62 (2011). The California Court of Appeal’s conclusion, moreover,
                                                                          3   that state law did not require an instruction on the presumption of innocence is binding here.
                                                                          4   Hicks v. Feiock, 485 U.S. 624, 629-30 n.3 (1988) (state court’s interpretation of state law,
                                                                          5   including one announced on direct appeal of challenged conviction, binds federal court sitting
                                                                          6   in habeas corpus). And finally, even if petitioner claimed a violation of the federal right to due
                                                                          7   process, AEDPA requires “clearly established” United States Supreme Court in order to grant
                                                                          8   federal habeas relief. There is no such precedent; indeed, the Supreme Court has enumerated
                                                                          9   the requirements of due process in civil commitment proceedings, and a presumption of
                                                                         10   innocence is not one of the requirements. See Vitek v. Jones, 445 U.S. 480, 491-96 (1980); cf.
                                                                         11   Kentucky v. Whorton, 441 U.S. 786, 789 (1979)) (federal constitution does not require an
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                                                                         12   instruction on the presumption of innocence in criminal proceedings).
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                                                                         13           Accordingly, petitioner is not entitled to federal habeas relief on this claim.
                                                                         14           4.     Claim Five
                                                                         15           Petitioner claims that the jury’s verdict was not supported by sufficient evidence. After
                                                                         16   AEDPA, sufficiency of evidence claims in federal habeas petitions are subject to a “twice-
                                                                         17   deferential standard.” Parker v. Matthews, 132 S. Ct. at 2152 (2012) (per curiam). First, relief
                                                                         18   must be denied if, viewing the evidence in the light most favorable to the prosecution, there was
                                                                         19   evidence on which “any rational trier of fact could have found the essential elements of the
                                                                         20   crime beyond a reasonable doubt.” Ibid. (citing Jackson v. Virginia, 443 U.S. 307, 319, 324
                                                                         21   (1979)). Second, a state court decision denying a sufficiency challenge may not be overturned
                                                                         22   on federal habeas unless the decision was “objectively unreasonable.” Ibid. (citing Cavazos v.
                                                                         23   Smith, 132 S. Ct. 2, 4 (2011)). A federal court does not determine whether it is satisfied that the
                                                                         24   evidence established guilt beyond a reasonable doubt. Payne v. Borg, 982 F.2d 335, 338 (9th
                                                                         25   Cir. 1992). Only if no rational trier of fact could have found proof of guilt beyond a reasonable
                                                                         26   doubt has there been a due process violation. Jackson, 443 U.S. at 324.
                                                                         27           Petitioner argues there was insufficient evidence to support the jury’s SVP finding
                                                                         28   because the prosecution’s experts did not base their diagnosis of him upon current


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                                                                          1   psychological symptoms or recent behaviors, and their diagnosis relied upon factors
                                                                          2   contradicted by facts. He cites the facts that his last sexual assault was in 1992, he was never
                                                                          3   found with coercive sexual pornography, he did not talk about wanting to coerce sex, and he
                                                                          4   had regular consensual sex with his wife.
                                                                          5           To prove that a defendant is an SVP, the state need not offer proof of a recent act while
                                                                          6   the person is in custody. Cal. Welf. & Inst. Code § 6600(d). Rather, the state must show
                                                                          7   “recent objective indicia of a defendant’s condition and a recent objective basis for a finding
                                                                          8   that an inmate is likely to reoffend.” Johnson, slip op. at 8 (quoting People v. Buffington, 74
                                                                          9   Cal.App.4th 1149, 1161 (1999)).
                                                                         10           In rejecting petitioner’s claim, the California Court of Appeal carefully explained why
                                                                         11   the evidence was sufficient for a rational juror to find he was an SVP. The state’s experts’
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                                                                         12   qualifications were not disputed, and they testified that petitioner currently had the disorder, not
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                                                                         13   just that he had it in the past. Moreover, Dr. D’Orazio testified that people with the disorder do
                                                                         14   not typically act out while in custody — as petitioner has been since 1992 — and can manifest
                                                                         15   again after a latent period. In addition, Dr. Padilla testified that the disorder could not be cured,
                                                                         16   only managed, which petitioner was not doing effectively because he did not accept full
                                                                         17   responsibility for having committed rape. Both experts also applied an actuarial method to
                                                                         18   determine his “likelihood” of reoffending, which, under state law, need not be greater than 50
                                                                         19   percent. Rather, under the SVPA, the likelihood of re-offense must be simply a “serious or
                                                                         20   well-founded risk.” A rapist with 15-25 percent chance of raping again when released into the
                                                                         21   community could rationally be considered a “serious” risk to that community given the gravity
                                                                         22   and serious harm a rape causes.
                                                                         23           Furthermore, petitioner shared characteristics with others with the disorder, including
                                                                         24   the number of victims, the long history of sexual violence spanning ten years, his rapid
                                                                         25   recidivism upon his release from custody, his advance planning of the assaults, his ability to
                                                                         26   sustain sexual arousal despite the distress of his victims, and his use of more force than
                                                                         27   necessary to gain compliance of the victims. Based upon this evidence, the jury could rationally
                                                                         28   find recent objective indicia of the disorder because his lack of recent sexual assaults could


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                                                                          1   rationally be attributed to his incarceration, his disorder could be latent, he was not effectively
                                                                          2   managing it, and he shared numerous characteristics of those with the disorder who were likely
                                                                          3   to reoffend.
                                                                          4           Petitioner argues that the jury could not have rationally believed the prosecution
                                                                          5   experts’ diagnoses of him with a disorder because he “has engaged in sex with 50 to 200 sexual
                                                                          6   partners” and “is clearly able to achieve and maintain arousal even when coercion is not
                                                                          7   present” (Pet. 14). This argument is not persuasive. As correctly noted by the Court of Appeal,
                                                                          8   Dr. Padilla testified that people who have paraphilic coercive disorder can and do have
                                                                          9   consensual sex in addition to coercive sex. And there is no evidence that a large number of
                                                                         10   sexual partners diminishes the probability that someone will commit rape. Petitioner has not
                                                                         11   shown why a rational juror could have found that his consensual sex precluded him from
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                                                                         12   suffering from a disorder that posed a current, serious and well-founded risk of reoffense if he
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                                                                         13   was free in the community.
                                                                         14           Accordingly, petitioner’s claim of insufficient evidence does not establish grounds for
                                                                         15   federal habeas relief.
                                                                         16           5.     Claim Six, Seven and Eight
                                                                         17           In his sixth claim, petitioner argues that the SVPA violates the Equal Protection Clause
                                                                         18   because (1) it allows a trial court to summarily dismiss without a hearing a petition for release
                                                                         19   on frivolous grounds (Cal. Welf. & Inst. Code § 6608), while the same cannot be done in other
                                                                         20   civil commitment proceedings for Mentally Disordered Offenders (“MDO”) and insanity
                                                                         21   acquittals (“NGI”) (Cal. Pen. Code §§ 1026 et seq., 2960 et seq.), and (2) SVPs are committed
                                                                         22   for indeterminate terms with annual review in which they have the burden of proof seeking
                                                                         23   release (Cal. Welf. & Inst. Code § 6604) while MDOs and NGIs are only committed for one or
                                                                         24   two years (Cal. Pen. Code §§ 1026.5(b)(8), 2970(b)). In his seventh claim, petitioner argues
                                                                         25   that the SVPA violates due process because it commits SVPs to an indeterminate term with
                                                                         26   annual review. In his eighth claim, he argues that the SVPA violates the Ex Post Facto Clause
                                                                         27   Jeopardy Clause.
                                                                         28           "The Equal Protection Clause of the Fourteenth Amendment commands that no State


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                                                                          1   shall 'deny to any person within its jurisdiction the equal protection of the laws,' which is
                                                                          2   essentially a direction that all persons similarly situated should be treated alike." City of
                                                                          3   Cleburne v. Cleburne Living Center, 473 U.S. 432, 439 (1985). Our court of appeals has found
                                                                          4   that there is no clearly established Supreme Court precedent prohibiting treating SVPs
                                                                          5   differently from MDOs and NGIs, finding them to be similarly situated, or applying any stricter
                                                                          6   scrutiny to such differentiation than rational basis review. Seeboth v. Allenby, 789 F.3d 1099,
                                                                          7   1105-06 (9th Cir. 2015) (SVPA does not violate equal protection even though it sets no time
                                                                          8   limit for trial on whether detainee should be re-committed (for indefinite term), despite statutes
                                                                          9   granting timing provision to other civilly-committed persons, such as mentally disordered
                                                                         10   offenders and those not guilty by reason of insanity); see also Taylor v. San Diego Cty., 800
                                                                         11   F.3d 1164, 1171 (9th Cir. 2015) (California Court of Appeal did not unreasonably apply clearly
United States District Court




                                                                         12   established federal law in determining that sexually violent predators are not similarly situated
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                                                                         13   to other civil committed individuals); Litmon v. Harris, 768 F.3d 1237, 1243 (9th Cir. 2014)
                                                                         14   (SVPs are not similarly situated to MDOs, allowing them to be treated differently). The rational
                                                                         15   basis from treating SVPs differently from MDOs and NGIs — who have been found mentally
                                                                         16   ill and dangerous, but not sexually dangerous — is that a state may rationally determine that
                                                                         17   sexually violent crime is “qualitatively more dangerous” than other violent crime. Seeboth, 789
                                                                         18   F.3d at 1106. Based on this authority, the California Court of Appeal did not violate or
                                                                         19   unreasonably apply clearly established Supreme Court precedent in holding that the SVPA does
                                                                         20   not violate the Equal Protection Clause by treating SVPs differently from other civilly
                                                                         21   committed persons. Accordingly, petitioner may not obtain federal habeas relief on this claim.
                                                                         22           Petitioner claims that the SVPA violates due process because, after the initial
                                                                         23   commitment trial at which the state must prove that the detainee is an SVP beyond a reasonable
                                                                         24   doubt, the detainee has the burden to show he is no longer an SVP at annual petitions for release
                                                                         25   from custody. Our court of appeals has rejected this claim for federal habeas relief under
                                                                         26   AEDPA, holding that there is no clearly established Supreme Court authority prohibiting such
                                                                         27   burden shifting for civil commitment proceedings. Taylor v San Diego County, 800 F.3d 1164,
                                                                         28   1172 (9th Cir. 2015). Accordingly, the California Court of Appeal’s denial of petitioner’s due


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                                                                          1   process claim does not entitle him to federal habeas relief under AEDPA.
                                                                          2           Petitioner claims that the SVPA violates the Ex Post Facto and Double Jeopardy
                                                                          3   Clauses because the commitment term is an indeterminate term with annual review, a change
                                                                          4   brought about by the passage of Proposition 83. When a prisoner is civilly committed after
                                                                          5   completing his or her criminal sentence, the commitment does not violate the Double Jeopardy
                                                                          6   or Ex Post Facto Clauses as long as the commitment statute does not establish criminal
                                                                          7   proceedings. See Kansas v. Hendricks, 521 U.S. 346, 359-69 (1997) (finding Kansas SVP
                                                                          8   proceedings not criminal). For purposes of its constitutionality, the SVPA is similar in all
                                                                          9   relevant respects to the Kansas statute upheld in Hendricks, and as such the proceedings it
                                                                         10   establishes are not criminal in nature. See Hubbart v. Knapp, 379 F.3d 773, 779-80 (9th Cir.
                                                                         11   2004). The determination in Hubbart that SVPA’s commitment proceedings are not “criminal”
United States District Court




                                                                         12   in nature under Hendricks is not altered by Proposition 83. See Taylor, 800 F.3d at 1171
                               For the Northern District of California




                                                                         13   (holding “[o]ur ruling in Hubbart remains the law of the circuit” after passage of Proposition
                                                                         14   83). As SVPA proceedings are not criminal in nature, the California Court of Appeal’s
                                                                         15   conclusion that petitioner’s commitment did not violate the Ex Post Facto or Due Process
                                                                         16   Clauses was neither contrary to nor an unreasonable application of federal law under the
                                                                         17   AEDPA.
                                                                         18                                            CONCLUSION
                                                                         19           The petition for a writ of habeas corpus is DENIED without prejudice. Petitioner has
                                                                         20   failed to make a substantial showing that a reasonable jurist would find the denial of his claims
                                                                         21   debatable or wrong. Slack v. McDaniel, 529 U.S. 473, 484 (2000). Consequently, no certificate
                                                                         22   of appealability is warranted in this case.
                                                                         23           The clerk shall enter judgment and close the file.
                                                                         24           IT IS SO ORDERED.
                                                                         25
                                                                              Dated: July    11    , 2017.
                                                                         26                                                        WILLIAM ALSUP
                                                                                                                                   UNITED STATES DISTRICT JUDGE
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